MANDATE
                       Case 18-3351, Document 103, 10/22/2019, 2686308, Page1 of 8


      18‐3351
                                                                                    USDC - SDNY
      In re: Petrobras Securities Litigation                                        1:14-cv-09662-JSR

                               UNITED STATES COURT OF APPEALS
                                   FOR THE SECOND CIRCUIT

                                                 SUMMARY ORDER

  RULINGS BY SUMMARY ORDER DO NOT HAVE PRECEDENTIAL EFFECT. CITATION TO A SUMMARY
  ORDER FILED ON OR AFTER JANUARY 1, 2007, IS PERMITTED AND IS GOVERNED BY FEDERAL RULE OF
  APPELLATE PROCEDURE 32.1 AND THIS COURT=S LOCAL RULE 32.1.1. WHEN CITING A SUMMARY ORDER
  IN A DOCUMENT FILED WITH THIS COURT, A PARTY MUST CITE EITHER THE FEDERAL APPENDIX OR
  AN ELECTRONIC DATABASE (WITH THE NOTATION “SUMMARY ORDER”). A PARTY CITING TO A
  SUMMARY ORDER MUST SERVE A COPY OF IT ON ANY PARTY NOT REPRESENTED BY COUNSEL.


                     At a stated term of the United States Court of Appeals for the Second Circuit,
      held at the Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New
      York, on the 1st day of October, two thousand nineteen.
                                                                 USDC SDNY
      PRESENT:
                                                                 DOCUMENT
                          DENNIS JACOBS,
                                                                 ELECTRONICALLY FILED
                          ROBERT D. SACK
                          PETER W. HALL,
                                                                 DOC #: _________________
                                                                             Oct. 22, 2019
                                                                 DATE FILED: _____________
                               Circuit Judges.



      IN RE: PETROBRAS SECURITIES LITIGATION



      UNIVERSITIES SUPERANNUATION SCHEME LIMITED,
      EMPLOYEES RETIREMENT SYSTEM OF THE STATE OF
      HAWAII, NORTH CAROLINA DEPARTMENT OF STATE
      TREASURER,

                                    Plaintiffs‐Appellees,

      AURA CAPITAL LTD., DIMENSIONAL EMERGING
      MARKETS VALUE FUND, DFA INVESTMENT
      DIMENSIONS GROUP INC., ON BEHALF OF ITS SERIES
      EMERGING MARKETS CORE EQUITY PORTFOLIO,
      EMERGING MARKETS SOCIAL CORE EQUITY
      PORTFOLIO AND T.A. WORLD EX U.S. CORE EQUITY
      PORTFOLIO, DFA INVESTMENT TRUST COMPANY, ON
      BEHALF OF ITS SERIES THE EMERGING MARKETS

                                                            1


MANDATE ISSUED ON 10/22/2019
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SERIES, DFA AUSTRIA LIMITED, SOLELY IN ITS
CAPACITY   AS   RESPONSIBLE   ENTITY   FOR   THE
DIMENSIONAL EMERGING MARKETS TRUST, DFA
INTERNATIONAL CORE EQUITY FUND, AND DFA
INTERNATIONAL VECTOR EQUITY FUND BY
DIMENSIONAL FUND ADVISORS CANADA ULC
SOLELY IN ITS CAPACITY AS TRUSTEE, DIMENSIONAL
FUNDS PLC, ON BEHALF OF ITS SUB‐FUND EMERGING
MARKETS VALUE FUND, DIMENSIONAL FUNDS ICVC,
ON BEHALF OF ITS SUB‐FUND EMERGING MARKETS
CORE EQUITY FUND, SKAGEN AS, DANSKE INVEST
MANAGEMENT A/S, DANSKE INVEST MANAGEMENT
COMPANY, NEW YORK CITY EMPLOYEESʹ RETIREMENT
SYSTEM, NEW YORK CITY POLICE PENSION FUND,
BOARD OF EDUCATION RETIREMENT SYSTEM OF THE
CITY OF NEW YORK, TEACHERSʹ RETIREMENT SYSTEM
OF THE CITY OF NEW YORK, NEW YORK CITY FIRE
DEPARTMENT PENSION FUND, NEW YORK CITY
DEFERRED COMPENSATION PLAN, FORSTA AP‐
FONDEN, TRANSAMERICA INCOME SHARES, INC.,
TRANSAMERICA FUNDS, TRANSAMERICA SERIES
TRUST, TRANSAMERICA PARTNERS PORTFOLIOS, JOHN
HANCOCK VARIABLE INSURANCE TRUST, JOHN
HANCOCK FUNDS II, JOHN HANCOCK SOVEREIGN
BOND FUND, JOHN HANCOCK BOND TRUST, JOHN
HANCOCK STRATEGIC SERIES, JOHN HANCOCK
INVESTMENT TRUST, JHF INCOME SECURITIES TRUST,
JHF INVESTORS TRUST, JHF HEDGED EQUITY &
INCOME FUND, ABERDEEN EMERGING MARKETS
EQUITY FUND, ABERDEEN GLOBAL EQUITY & INCOME
FUND, ABERDEEN GLOBAL NATURAL RESOURCES
FUND, ABERDEEN INTERNATIONAL EQUITY FUND,
EACH A SERIES OF ABERDEEN FUNDS; ABERDEEN
CANADA EMERGING MARKETS FUND, ABERDEEN
CANADA SOCIALLY RESPONSIBLE GLOBAL FUND,
ABERDEEN     CANADA     SOCIALLY    RESPONSIBLE
INTERNATIONAL FUND, ABERDEEN CANADA FUNDS
EAFE PLUS EQUITY FUND AND ABERDEEN CANADA
FUNDS GLOBAL EQUITY FUND, EACH A SERIES OF
ABERDEEN CANADA FUNDS, ABERDEEN EAFE PLUS
ETHICAL FUND, ABERDEEN EAFE PLUS FUND,
ABERDEEEN EAFF PLUS SRI FUND, ABERDEEEN
EMERGING MARKETS EQUITY FUND, AND ABERDEEN
GLOBAL EQUITY FUND, EACH A SERIES OF ABERDEEN

                                             2
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INSTITUTIONAL C, ABERDEEN FULLY HEDGED
INTERNATIONAL     EQUITIES   FUND,   ABERDEEN
INTERNATIONAL EQUITY FUND, ABERDEEN GLOBAL
ETHICAL WORLD EQUITY FUND, ABERDEEN GLOBAL
RESPONSIBLE WORLD EQUITY FUND, ABERDEEN
GLOBAL WORLD EQUITY DIVIDEND FUND, ABERDEEN
GLOBAL WORLD EQUITY FUND, ABERDEEN GLOBAL
WORLD RESOURCES EQUITY FUND, ABERDEEN
EMERGING MARKETS EQUITY FUND, ABERDEEN
ETHICAL WORLD EQUITY FUND, ABERDEEN MULTI‐
ASSET FUND, ABERDEEN WORLD EQUITY FUND,
ABERDEEN WORLD EQUITY IN, ABERDEEN LATIN
AMERICA EQUITY FUND, INC., AAAID EQUITY
PORTFOLIO, ALBERTA TEACHERS RETIREMENT FUND,
AON HEWITT INVESTMENT CONSULTING, INC.,
AURION INTERNATIONAL DAILY EQUITY FUND, BELL
ALIANT REGIONAL COMMUNICATIONS INC., BMO
GLOBAL EQUITY CLASS, CITY OF ALBANY PENSION
PLAN, DESJARDINS DIVIDEND INCOME FUND,
DESJARDINS EMERGING MARKETS FUND, DESJARDINS
GLOBAL ALL CAPITAL EQUITY FUND, DESJARDINS
OVERSEAS EQUITY VALUE FUND, DEVON COUNTY
COUNCIL GLOBAL EMERGING MARKET FUND, DEVON
COUNTY COUNCIL GLOBAL EQUITY FUND, DGIA
EMERGING MARKETS EQUITY FUND L.P., ERIE
INSURANCE EXCHANGE, FIRST TRUST / ABERDEEN
EMERGING OPPORTUNITY FUND, GE UK PENSION
COMMON INVESTMENT FUND, HAMPSHIRE COUNTY
COUNCIL GLOBAL EQUITY PORTFOLIO, LONDON
BOROUGH OF HOUNSLOW SUPERANNUATION FUND,
MACKENZIE         UNIVERSAL        SUSTAINABLE
OPPORTUNITIES CLASS, MARSHFIELD CLINIC,
MOTHER THERESA CARE AND MISSION TRUST, MTR
CORPORATION LIMITED RETIREMENT SCHEME, MYRIA
ASSET MANAGEMENT EMERGENCE, M, NATIONAL
PENSION SERVICE, AND NPS TRUST ACTIVE 14, OHIO
PUBLIC    EMPLOYEES      RETIREMENT    SYSTEM,
WASHINGTON STATE INVESTMENT BOARD, ABERDEEN
LATIN AMERICAN INCOME FUND LIMITED, ABERDEEN
GLOBAL EX JAPAN PENSION FUND PPIT, FS
INTERNATIONAL EQUITY MOTHER FUND, NN
INVESTMENT PARTNERS B.V., ACTING IN THE
CAPACITY OF MANAGEMENT, NN INVESTMENT
PARTNERS B.V., ACTING IN THE CAPACITY OF

                                          3
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MANAGEMENT COMPANY OF THE MUTUAL FUND        NN
GLOBAL EQUITY FUND, NN INVESTMENT PARTNERS
B.V., ACTING IN THE CAPACITY OF MANAGEMENT
COMPANY OF THE MUTUAL FUND NN HOOG
DIVIDEND AANDELEN FONDS, NN INVESTMENT
PARTNERS B.V., ACTING IN THE CAPACITY OF
MANAGEMENT COMPANY OF THE MUTUAL FUND NN
INSTITUTIONEEL    DIVIDEND    AANDELEN,      NN
INVESTMENT PARTNERS LUXEMBOURG S.A., ACTING
IN THE CAPACITY OF MANAGEMENT COMPANY SICAV
AND ITS SUB‐FUNDS, AND NN (L) SICA, FOR AND ON
BEHALF OF NN (L) EMERGING MARKETS HIGH
DIVIDEND, NN (L) FIRST, AURA CAPITAL LIMITED,
WGI EMERGING MARKETS FUND, LLC, BILL AND
MELINDA GATES FOUNDATION TRUST, BOARD OF
REGENTS OF THE UNIVERSITY OF TEXAS SYSTEM,
TRUSTEES OF THE ESTATE OF BERNICE PAUAHI BISHOP,
DBA KAMEHAMEHA SCHOOLS, LOUIS KENNEDY,
INDIVIDUALLY AND ON BEHALF OF ALL OTHERS
SIMILARLY SITUATED, KEN NGO, INDIVIDUALLY AND
ON BEHALF OF ALL OTHERS SIMILARLY SITUATED, CITY
OF PROVIDENCE, INDIVIDUALLY AND ON BEHALF OF
ALL OTHERS SIMILARLY SITUATED, HANDELSBANKEN
FONDER AB, PUBLIC EMPLOYEE RETIREMENT SYSTEM
OF IDAHO, PETER KALTMAN, INDIVIDUALLY AND ON
BEHALF OF ALL OTHERS SIMILARLY SITUATED, UNION
ASSET MANAGEMENT HOLDING AG, JONATHAN
MESSING, INDIVIDUALLY AND ON BEHALF OF ALL
OTHERS SIMILARLY SITUATED,


                      Plaintiffs,

             v.                                        No. 18‐3351

SPENCER BUENO,

                      Objector‐Appellant,

JOSHUA R. FURMAN,

                      Appellant,

             v.



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MARIANGELA       MOINTEIRO     TIZATTO,    JOSUE
CHRISTIANO GOME DA SILVA, DANIEL LIMA DE
OLIVEIRA, SANTANDER INVESTMENT SECURITIES INC.,
BANCO VOTORANTIN NASSAU BRANCH, PETROLEO
BRASILEIRO S.A. PETROBRAS, JOSE SERGIO GABRIELLI,
SILVIO            SINEDINO             PINHEIRO,
PRICEWATERHOUSECOOPERS                AUDITORES
INDEPENDENTES, BB SECURITIES LTD., THEODORE
MARSHALL HELMS, PETROBRAS GLOBAL FINANCE
B.V., PETROBRAS AMERICA INC., PAULO ROBERTO
COSTA, JOSE CARLOS COSENZA, RENATO DE SOUZA
DUQUE, GUILLHERME DE OLIVEIRA ESTRELLA, JOSE
MIRANDA FORMIGL FILHO, MARIA DAS GRACAS
SILVA FOSTER, ALMIR GUILHERME BARBASSA, JOSE
RAIMUNDO BRANDA PEREIRA, SERVIO TULIO DA
ROSA TINOCO, PAULO JOSE ALVES, GUSTAVO TARDIN
BARBOSA, ALEXANDRE QUINTAO FERNANDES,
MARCOS ANTONIO ZACARIAS, CORNELIS FRANCISCUS
JOZE LOOMAN, MITSUBISHI UFJ SECURITIES (USA),
INC., HSBC SECURITIES (USA) INC., MERRILL LYNCH,
PIERCE, FENNER & SMITH INCORPORATED, STANDARD
CHARTERED BANK, BANK OF CHINA (HONG KONG)
LIMITED, BANCO BRADESCO BBI S.A., BANCA IMI,
S.P.A., SCOTIA CAPITAL (USA) INC., CITIGROUP
GLOBAL MARKETS INC., ITAU BBA USA SECURITIES,
INC., JP MORGAN SECURITIES LLC, MORGAN
STANLEY & CO. LLC,

                       Defendants.1




Appearing for Appellant:                     JOSHUA R. FURMAN, Joshua R. Furman Law
                                             Corp., Sherman Oaks, CA.

Appearing for Plaintiffs‐Appellees:          EMMA GILMORE (Jeremy A. Lieberman, Brenda
                                             F. Szydlo, Jennifer Banner Sobers, on the brief),
                                             Pomerantz LLP, New York, NY; Louis Gottlieb,
                                             Labaton Sucharow LLP, New York, NY.




1The Clerk of Court is directed to amend the official caption to conform with the
caption above.
                                           5
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       Appeal from an order of the United States District Court for the Southern District

of New York (Rakoff, J.).

       UPON DUE CONSIDERATION, IT IS HEREBY ORDERED, ADJUDGED,

AND DECREED that the order entered on September 21, 2018, is AFFIRMED.

       Appellant Joshua Furman, counsel for Objector Spencer Bueno,2 appeals from an

order of the district court imposing sanctions. Furman, on Bueno’s behalf, objected to “at

least a dozen aspects of the proposed settlement” in this case, including the district court’s

certification of the settlement class and certain aspects of class counsel’s request for

attorneys’ fees. In re Petrobras Sec. Litig., 317 F. Supp. 3d 858, 871‐72 (S.D.N.Y. 2018). The

district court overruled most of Furman’s objections and deferred ruling on Furman’s

objection concerning cy pres until when, and if, it was determined that a cy pres

disbursement would be made. Plaintiffs‐Appellees then moved for sanctions, which

motion the district court granted in part, imposing sanctions of $10,000. See generally In

re Petrobras Sec. Litig., No. 14‐cv‐9662, 2018 WL 4521211 (S.D.N.Y. Sept. 21, 2018). This

appeal follows.    We assume the parties’ familiarity with the underlying facts, the

procedural history of the case, and the issues on appeal.




2Bueno does not challenge on appeal the portion of the district court’s order requiring
him to post an appeal bond.
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       “We review the imposition of sanctions for abuse of discretion.” Huebner v.

Midland Credit Mgmt., Inc., 897 F.3d 42, 53 (2d Cir. 2018). A district court “must outline

its factual findings with ‘a high degree of specificity,’” “[b]ut more often than not, ‘the

district court is better situated than the court of appeals to marshal the pertinent facts and

apply the fact‐dependent legal standard that informs its determination as to whether

sanctions are warranted.’” Id. (quoting Virginia Props., LLC v. T‐Mobile Ne. LLC, 865 F.3d

110, 113 (2d Cir. 2017)).

       Upon such review, we find no merit to Furman’s arguments, which are largely

misdirected. Furman conflates evidence from which the district court inferred bad

faith—evidence the use of which he insists he lacked notice—with the grounds for the

district court’s imposition of sanctions. At bottom, the district court sanctioned Furman

for advancing frivolous objections in bad faith as a means to delay disbursement of the

settlement funds in this case. And we conclude that the district court acted well within

its discretion in so doing.3




3Even assuming Furman is correct that he was not given adequate notice that he might
be sanctioned pursuant to the district court’s inherent authority, we conclude that the
sanctions imposed were appropriate under 28 U.S.C. § 1927.
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      We have considered Furman’s remaining arguments and find them to be without

merit. The order of the district court is AFFIRMED.4

                                  FOR THE COURT:
                                  CATHERINE O’HAGAN WOLFE, Clerk of Court




4 In affirming the district court’s judgment, we do not reach, and therefore do not
necessarily endorse, various characterizations by the district court of Furman or his
behavior. See In re Petrobras Sec. Litig., No. 14‐cv‐9662, 2018 WL 4521211, at *7 (S.D.N.Y.
Sept. 21, 2018). On a related note, counsel for Plaintiffs‐Appellees would be well served
to refrain in the future from including unnecessary invective and ad hominem attacks,
which have been present in disturbing quantity in their briefing for this and two prior
objector appeals.
                                               8
